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                     IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


UNITED STATES OF AMERICA, )                    CASE NO.: 1:18-CR-22
                          )
           Plaintiff      )                    JUDGE: SOLOMON OLIVER, JR.
                          )
           vs.            )
                          )
PHILLIP DURACHINSKY,      )                    DEFENDANT PHILLIP DURACHINSKY’S
                          )                    MOTION FOR LEAVE TO FILE
           Defendant      )                    MOTION EX PARTE AND UNDER SEAL


       Now comes the Defendant Phillip Durachinsky, by and through counsel, and

respectfully moves the Court (pursuant to Local Rule 49.4) for leave to file the

Defendant‘s forthcoming motions regarding declaring this case a mega case, as well as a

proposed CJA Litigation Budget, ex parte and under seal.

                                               Respectfully submitted,

                                               /s/ Thomas E. Conway
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                             CERTIFICATE OF SERVICE

       I certify that the forgoing was filed electronically on June 19, 2018. Notice of this

filing will be sent to all parties by operation of the Court’s electronic filing system, and

can be accessed through said system.

                                               /s/ Thomas E. Conway
                                               Thomas E. Conway
                                               Attorney for Defendant
